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      Attorney for Defendant, SUZANNE BARNETT
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 7                                       UNITED STATES DISTRICT COURT

 8                                      EASTERN DISTRICT OF CALIFORNIA
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                                                         *****
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                                                         )
11   UNITED STATES OF AMERICA,                           ) CASE NO. CR-F-06-0171 OWW
                                                         )
12           Plaintiff,                                  ) STIPULATION TO CONTINUE SENTENCING
                                                         ) HEARING; ORDER
13   vs.                                                 )
                                                         ) SCHED. DATE: October 20, 2008
14   SUZANNE BARNETT, et al.,                            ) REQST. DATE: January 12, 2009
                                                         )
15           Defendant.                                  ) TIME:         9:00 A.M.
                                                         ) COURT: The Hon. Oliver W. Wanger
     _________________________________________________
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17            IT IS HEREBY STIPULATED between the parties, by and through counsel for the

18   government, Laurel Montoya, and counsel for Defendant SUZANNE BARNETT, Joan Jacobs Levie,
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     that the date of the sentencing hearing, currently scheduled for January 12, 2009 at 9:00 a.m. in the
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     courtroom of the Hon. Oliver W. Wanger, be continued until February 17, 2009 at 9:00 a.m. in the
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     courtroom of the Hon. Oliver W. Wanger.              The purpose for the postponement is to continue
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23   discussions directed at resolving sentencing issues that would otherwise require an evidentiary

24   hearing. Sentencing discussions and negotiations have been and continue to be ongoing between both
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     counsel.
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             Both counsel are aware that a sentencing evidentiary hearing might become necessary which
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 2   they are attempting to avoid if possible. Defense counsel requests this court to reserve two hours for

 3   an evidentiary hearing should the issues fail to resolve.
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             DATED: December 17, 2008
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                                                     Respectfully submitted,
 6
                                                     /S/ Joan Jacobs Levie___
 7
                                                     JOAN JACOBS LEVIE
 8                                                   Attorney for Defendant,
                                                     SUZANNE BARNETT
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10                                                   /S/ Laurel J. Montoya
                                                     LAUREL J. MONTOYA
11                                                   Assistant U.S. Attorney
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                                                  *****
14
                                                     ORDER

15   Having read the stipulation of counsel and finding good cause,
16   IT IS HEREBY ORDERED that the date of the sentencing proceedings will be continued in
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     accordance with the above stipulation of counsel. The defendant is ordered to return to court for
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     further proceedings on February 17, 2009 at 9:00 a.m.
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     DATED: 12/16/2008

21                                           By: /s/ OLIVER W. WANGER
                                                OLIVER W. WANGER
22                                              Judge of the United States District Court
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